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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHER DISTRICT OF TEXAS
                               DALLAS DIVISION


CURTIS WRIGHT                                 )               CASE NO.
                                              )
                                              )
                                              )               JUDGE
                PLAINTIFF                     )
                                              )
       V.                                     )               COMPLAINT
                                              )               (Jury Demand Endorsed Hereon)
BNSF RAILWAY, INC.,                           )
                                              )
                DEFENDANT                     )


       Now comes Plaintiff Curtis Wright and for his claims against BNSF Railway,

Inc., and brings this action pursuant to the Uniform Services Employment and

Reemployment Act of 1994, 38 U.S.C. § 4301 – 4333 (“USERRA”) and would show the

court as follows:

                               I.      PARTIES

       1.       Plaintiff Curtis Wright is an individual residing in Hazelett, Texas and at

all times relevant hereto was an employee as that term is defined by 38 U.S.C. § 4303(3).

       2.       Defendant BNSF Railway, Inc., is a corporation who maintains a place of

business in Dallas, Texas and all times hereto was an employer as defined by 38 U.S.C.

§ 4303(4)(A).



                               II.     JURISDICTION

       3.       This court has subject matter jurisdiction over this dispute pursuant to 28




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U.S.C. §§ 1331, 1337, and 38 U.S.C. § 4323(b)(3) in that this matter arises under the

laws of the United States.

                                 III.    VENUE

        4.        Venue of this matter is properly before this court since the events that give

rise to plaintiff ’s claims occurred within the jurisdiction of this court pursuant to 38

U.S.C. § 4323(c)(2) and the defendant maintains a place of business within this district.

                         IV.     FACTUAL BACKGROUND

        6.        Plaintiff who was hired by defendant as a conductor in February 1998.

During the course of his employment he sought and obtained several other positions

within the railroad including completing a management trainee program; becoming the

Trainmaster in Oklahoma City OK. And late assigned as Manager Transportation in the

Alliance / Hazlett district

        7.        Plaintiff was a member of the Air Force Reserves throughout his

employment with BNSF.

        7.        Defendant BNSF is a national railroad company operating throughout the

United States..

        8.        In 2003 Plaintiff was called to active duty for a one year period and

assigned to Oman to support the war in Iraq. On his return from duty, defendant did not

offer him his prior position but offered a job in the Houston area which he rejected. A

subsequent offer was made for a position in Gainesville district which Wright accepted.

        9.        After three to four months he was reassigned to be the trainmaster in

Cleburne, TX in 2004.




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       10.     While assigned to Cleburne, he was frequently temporarily assigned to

Gainesville to assist the trainmaster there throughout 2005. He was also assigned to the

Irving yard to cover fofr that trainmaster on his days off. As a result of these temporary

assignments, Plaintiff was required to drive great distances in order to report for work.

       11.     In 2006, Darren Hale became Plaintiff’s supervisor while Wright was on a

temporary assignment in Irving, Texas.

       12.     Beginning in the summer of 2006, Plaintiff was required to report on a

monthly basis to his permanent duty station at Tinker Air Force Base in Oklahoma. Upon

receipt of each month’s orders to report for active duty, he forwarded a copy to Hale to

inform him of his need to report for duty.

       13.     After Wright began his monthly active duty, usually for one or two days at

a time, Hale began to harass Wright by frequent early morning phone calls, demanding

updates on the activities in Plaintiff’s assigned areas despite having been properly

informed in the required manner and demanding that Wright go to work on Thanksgiving

day, even though it was a scheduled day off.

       14.     In December 2007, Hale placed Plaintiff on a performance improvement

plan for alleged poor performance. It was also suggested by the human resource

department that he be demoted from his trainmaster position to the position of conductor

which would require that he return to riding the trains.

       15.     During the eight weeks he was on the improvement plan, Wright missed a

pay raise and bonus.

       16.     After completing the plan, Hale continued to harass Plaintiff leading to

Wright’s taking a stress related leave of absence beginning in April 2008.




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        17.    In August 2008, Plaintiff’s physician cleared him t return to work. At that

time, plaintiff’s position had been filled and he was told he had sixty (60) days to find

another position with the railroad or he would loose his job.

        18.    Plaintiff applied for each available position in the Northern Texas area. He

was not interviewed for any position despite his qualifications.

        19.    This sixty (60) period was extended by defendant for an additional thirty

(30) days because Plaintiff had to report for active duty. As he had in the past, when Hale

was apprised of Wright’s orders, he expressed his displeasure to Plaintiff.

        20.    During his leave, Plaintiff was placed on medication for his depression.

He continued to take the medications when he was cleared to return to work. After he

was cleared to return to work, defendant demanded Wright be examined by a physician

of their choosing who then referred him to a counselor.

        21.    Plaintiff had one meeting with the counselor who demanded that he cease

taking the medication before returning to work. He complied with this demand. His

physician provided a negative drug screen to defendant and was again cleared to return to

work.

        22.    Despite meeting al conditions for returning to work, defendant refused to

offer a position to Plaintiff until June 2009 when he returned to work in a union position

which was a demotion form his previous position of trainmaster.

        23.    The decision whether Wright returned to work was determined in part by

Darren Hale. During the tenure he supervised Wright, Hale would frequently question if

his reserve duty was mandatory and repeatedly asked for his orders even after they were




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provided. Hale would also give Wright conflicting work assignments and changes certain

performance goals in an effort to establish poor job performance by Wright.

        24.     The treatment suffered by Wright was different that the other Trainmasters

who reported to Hale.

                        VI.     USERRA DISCRIMINATION

        25.     Plaintiff incorporates the allegations contained in paragraphs 1 through 24

inclusive as if fully rewritten herein.

        25.     The foregoing conduct of defendant as set forth above constitutes

discrimination in violation of the requirements of 38 U.S.C. §4331 (a) and (b) of the

Uniformed Service Employment and Reemployment Act since defendant’s actions as

outlined above were motivated by plaintiff’s membership in the Air Force Reserves.

        26.     As a result if defendant’s conduct as set forth above, plaintiff has suffered

economic damages in the form of lost wages and benefits as well as future wages and

benefits in an amount to be determined a trial.

        27.     Defendant’s conduct has resulted in plaintiff suffering non-economic

damages in the form of mental anguish to be determined at trial.

        28.     Defendant’s conduct toward plaintiff was intentional and willful and of the

nature for which plaintiff is entitled to recover liquidated damages in an amount to be

determined at trial.

        29.     Plaintiff is also entitled to recover his reasonable and necessary attorney’s

fees and expert fees and the costs of this action in an amount to be determined at trial.

                                VII.      JURY DEMAND

        30.     Plaintiff demands a trial by jury.




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       WHEREFORE for the foregoing reasons plaintiff requests judgment against

defendant as follows:

              A.        That this court award plaintiff his economic losses
                        in the form of lost wages and benefits and future
                        earnings and benefits in an amount to be determined
                        at trial;

              B.        That this court award plaintiff her non-economic
                        damages in the form of mental anguish in an amount
                        to be determined at trial;

              C.        That this court award plaintiff punitive damages for
                        defendant’s willful and intentional conduct in
                        an amount to be determined at trial;

              D.        That this court award plaintiff his reasonable and
                        necessary attorney’s and expert fees and the costs
                        of this action in an amount to be determined at
                        trial; and

              E.        That this court award plaintiff such other and further
                        relief as may be deemed just and proper.


                                                      Respectfully submitted,

                                                      /s/ F. Benjamin Riek III
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